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      1
      2     UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK
      3     ------------------------------------------X
            JAMES MORALES,
      4
                                                 PLAINTIFF,
      5
                          -against-              Case No.:
      6                                          1:16-CV-02134
      7     KAVULICH & ASSOCIATES, P.C., GARY KAVULICH,
            ROSEWALL GARDENS ASSOCIATES, LP f/k/a
      8     ROSEWALL GARDENS ASSOCIATES and ROSEWALL,
            INC.,
      9
                                       DEFENDANTS.
     10     ------------------------------------------X
     11
     12                          DATE:    December 6, 2016
     13                          TIME:    11:48 A.M.
     14
     15                   CONTINUED DEPOSITION of the
     16     Defendant, GARY KAVULICH, taken by the
     17     Plaintiff, pursuant to a Court Order and to
     18     the Federal Rules of Civil Procedure, held
     19     at the offices of Diamond Reporting, Inc.,
     20     16 Court Street, Brooklyn, New York 11241,
     21     before Jamie Willis, a Notary Public of the
     22     State of New York.
     23
     24
     25

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      1
      2     A P P E A R A N C E S:
      3
      4     AHMAD KESHAVARZ, ESQ.
              Attorney for the Plaintiff
      5       JAMES MORALES
              16 Court Street, 26th Floor
      6       Brooklyn, New York 11241
              BY: AHMAD KESHAVARZ
      7
      8     CAMBA LEGAL SERVICES
              Attorneys for the Plaintiff
      9       JAMES MORALES
              885 Flatbush Avenue
     10       Brooklyn, New York 11226
              BY: MELISSA KOVEN, ESQ.
     11
     12
            MITCHELL L. PASHKIN, ESQ.
     13       Attorney for the Defendants
              KAVULICH & ASSOCIATES, P.C.,
     14       GARY KAVULICH, ROSEWALL GARDENS
              ASSOCIATES, LP f/k/a ROSEWALL GARDENS
     15       ASSOCIATES and ROSEWALL, INC.
              775 Park Avenue, Suite 255
     16       Huntington, New York 11743
     17
     18     ALSO PRESENT:
     19       JESSICA MOODY, Observing
     20
     21
     22                   *           *          *
     23
     24
     25

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      1
      2       F E D E R A L        S T I P U L A T I O N S
      3
      4
      5       IT IS HEREBY STIPULATED AND AGREED by and
      6     between the counsel for the respective
      7     parties herein that the sealing, filing and
      8     certification of the within deposition be
      9     waived; that the original of the deposition
     10     may be signed and sworn to by the witness
     11     before anyone authorized to administer an
     12     oath, with the same effect as if signed
     13     before a Judge of the Court; that an
     14     unsigned copy of the deposition may be used
     15     with the same force and effect as if signed
     16     by the witness, 30 days after service of
     17     the original & 1 copy of same upon counsel
     18     for the witness.
     19
     20       IT IS FURTHER STIPULATED AND AGREED that
     21     all objections except as to form, are
     22     reserved to the time of trial.
     23
     24                     *      *      *      *
     25

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      1                           G. KAVULICH
      2                     (Whereupon, documents were
      3             premarked as Plaintiff's Exhibits 9
      4             and 10 for identification as of this
      5             date by the Reporter.)
      6     G A R Y       K A V U L I C H, called as a
      7     witness, having been first duly sworn by a
      8     Notary Public of the State of New York, was
      9     examined and testified as follows:
     10     EXAMINATION BY
     11     MR. KESHAVARZ:
     12            Q.       Please state your name for the
     13     record.
     14            A.       Gary Kavulich.
     15            Q.       What is your address?
     16            A.       181 Westchester Avenue, Suite
     17     500C, Port Chester, New York 10573.
     18            Q.       Thanks for coming back.
     19                     What steps, if any, do you take
     20     to determine whether a judgment you're
     21     executing upon is valid, that is if it
     22     hasn't been vacated or satisfied?
     23            A.       We look at the notes and the
     24     scanned documents.
     25            Q.       Anything else?


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      1                            G. KAVULICH
      2             A.      No.    That's all we have.
      3     There's nothing else to look at.
      4             Q.      The notes, are those your own
      5     inhouse notes?
      6             A.      Yes.
      7             Q.      You don't mean notes from
      8     someone else?
      9             A.      What do you mean by someone
     10     else?
     11             Q.      Are there notes from another
     12     company that go to you or do you mean your
     13     inhouse notes?
     14             A.      No, our inhouse notes.
     15             Q.      Other than Mr. Morales, have
     16     you ever executed on a judgment that either
     17     was never entered or vacated or satisfied,
     18     has that ever happened before?
     19             A.      Not to my recollection.
     20             Q.      If you were sued for that
     21     before, you'd remember that?
     22             A.      Yes, I believe so.
     23             Q.      There was, in the document
     24     production by the marshall -- and we can
     25     pull up the documents in a few minutes --


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      1                           G. KAVULICH
      2     indication of executing against someone who
      3     did not have a judgement against them, a
      4     person named Soto, does that ring a bell to
      5     you?
      6            A.       No.
      7            Q.       Okay.    So, we'll pull up those
      8     documents in a little bit.
      9                     Now, one of the issues in this
     10     case is that Mr. Morales' bank account was
     11     restrained even though he didn't have a
     12     judgment and it was ultimately released,
     13     correct?
     14            A.       Which one?      You made two
     15     statements.
     16            Q.       You executed on the bank
     17     account when there was no judgment,
     18     correct?
     19            A.       Correct.
     20            Q.       And ultimately you released the
     21     restraint from the bank account?
     22            A.       Correct.
     23            Q.       Did you release it by informing
     24     the marshall to release it or did you do it
     25     by informing the bank to release it?


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      1                            G. KAVULICH
      2            A.       I don't recall.
      3            Q.       Is it your normal practice to
      4     do one or the other?
      5            A.       Usually to do both, if the
      6     marshall is involved.
      7            Q.       Why would you do both?
      8            A.       Just to cover all our bases.
      9            Q.       Has it ever come to pass that
     10     you've only given the notice to one, either
     11     the bank and not the marshall or only the
     12     marshall and not the bank?
     13            A.       I'm only aware of or recollect
     14     one case.
     15            Q.       And when was that?
     16            A.       The other case that you're
     17     suing me for.
     18            Q.       That's Mr. Prage's case?
     19            A.       Yes.
     20            Q.       And not to get into that case,
     21     just a couple of sentences.
     22                     In that case, the discovery
     23     apparently showed that when there was an
     24     order vacating a judgment against my
     25     client -- excuse me, let me rephrase that.


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      1                           G. KAVULICH
      2                     In Prage, there was an order
      3     holding that a restrained bank account
      4     contained entirely exempt funds, correct?
      5            A.       I don't recall the exact
      6     reason.      I recall that that was the exact
      7     reason, but the court denied our motion
      8     objecting to Mr. Prage's exemption claim
      9     and, therefore, ordered the account
     10     released.      But I don't know or recall the
     11     absolute specifics as to the four corners
     12     of that.
     13            Q.       And in that instance, you
     14     contend that you sent the notice to the
     15     bank but not to the marshall?
     16            A.       Actually, we sent it to both.
     17     We sent it to the bank contemporaneously
     18     upon receipt of the decision, but we sent
     19     it to the marshall, I think the time is a
     20     bit tenuated.
     21            Q.       The order, was it May and you
     22     sent it to the marshall in August?
     23            A.       July, I think.
     24            Q.       End of July?
     25            A.       Sometime in July, I believe.


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      1                            G. KAVULICH
      2            Q.       What steps did you take to make
      3     sure that your office sent it to both?
      4            A.       I do them all now.         I don't
      5     rely on anyone else in the office to do it.
      6            Q.       And I take it that's a change?
      7            A.       Yes.
      8            Q.       And when did that change occur,
      9     approximately?
     10            A.       Around this time.         When this
     11     happened.
     12            Q.       After the time that you were
     13     sued in this FDCPA action?
     14            A.       No.    Around the time that --
     15     the tenuated time period when the Prage
     16     matter came up.        Before I was sued.
     17            Q.       The Prage matter, was that an
     18     impetus for changing the fact that you were
     19     doing the reviews or was it something else?
     20            A.       No, it was that.        I don't
     21     generally purposely contravene a court
     22     order.
     23            Q.       And the other reason was that
     24     you had a staff member that normally
     25     handled that that moved to Laos; is that


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      1                            G. KAVULICH
      2     right?
      3             A.      That was much later after that.
      4             Q.      What was his name again?
      5             A.      Collin.
      6             Q.      Now, when you send a notice to
      7     the bank, do you provide a copy of that
      8     notice to the consumer?
      9             A.      Sure.
     10             Q.      And that's your office policy?
     11             A.      Yes.
     12             Q.      Do you have any proof of that
     13     happening either in Prage or in this case?
     14             A.      They go out regular mail, so
     15     no.
     16             Q.      Would there be a notation in
     17     the collection notes if the copy of the
     18     letter to the bank was, in fact, sent to
     19     the consumer?
     20             A.      No, because that's all part of
     21     one.
     22             Q.      Would the letter to the bank
     23     have a CC to the consumer, would it say CC
     24     consumer?
     25             A.      No, nor does the letter to the


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      1                           G. KAVULICH
      2     consumer say CC bank.
      3             Q.      If the consumer testified that
      4     they'd never gotten a notice from your
      5     office or from anyone that a bank account
      6     had been released, do you have any reason
      7     to believe that --
      8             A.      Rephrase that again.
      9             Q.      After you contend that you sent
     10     a notice to a bank to remove a restraint --
     11             A.      I misunderstood.         Then I have
     12     to restate my last answer.
     13             Q.      Go ahead.
     14             A.      When we send a release to the
     15     bank, no, we don't send anything to the
     16     judgment debtor or to the defendant.
     17             Q.      Why not?
     18             A.      Because they get it in court.
     19             Q.      How are they supposed to know
     20     that the bank actually releases the money?
     21             A.      When they have access to their
     22     account.
     23             Q.      Any other way?
     24             A.      They could call us.
     25             Q.      Any other way?


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      1                           G. KAVULICH
      2             A.      They could check their account.
      3             Q.      Any other way?
      4             A.      Not that comes to mind right
      5     now.
      6             Q.      Now, if the marshall is not
      7     notified of the order removing the
      8     restraint, then why wouldn't the marshall
      9     just re-execute on the same restraint?
     10             A.      Say that again.
     11             Q.      If you don't tell the marshall
     12     that the restraint has been lifted, all the
     13     marshall knows is maybe there's an order to
     14     show cause to stop collection until there's
     15     an order vacating a judgment or deeming
     16     funds exempt, right?
     17             A.      I'm not being purposely obtuse,
     18     but I don't understand your question.
     19                     MR. PASHKIN:       I'm going to
     20             object.      He can't know what the
     21             marshall would know or not know.
     22                     MR. KESHAVARZ:        Fine.
     23             Q.      I'm just asking -- the standard
     24     way this works, and correct me if I'm
     25     wrong, is that you give a restraint -- when


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      1                            G. KAVULICH
      2     you send a restraint to both the bank and
      3     the marshall, correct?
      4             A.      No.    After all of this, you
      5     still don't know this.           Both of you guys, I
      6     just can't believe this.
      7                     We send a restraining notice to
      8     the bank.       If the circumstances are such
      9     that there are moneys above the exemption
     10     then we send a property execution to the
     11     marshall.       We never send a restraint to the
     12     marshall.
     13             Q.      But isn't the marshall supposed
     14     to notify the consumer that there is an
     15     information subpoena and bank restraint or
     16     does that come from the bank?
     17             A.      You have to ask the marshall.
     18     I know we send a restraint to the bank.                  If
     19     there's sufficient funds, we send it to the
     20     marshall.       I've answered this like ten
     21     times.       Really.
     22             Q.      Let me show you what's been
     23     marked as Plaintiff's Exhibit 9.               This was
     24     produced by the judgment creditor in this
     25     case, the landlord.           It was their ledger


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      1                           G. KAVULICH
      2     about payments as to Mr. Morales.
      3                     Can you review that and let me
      4     know when you're done, please.
      5             A.      I'm done.
      6             Q.      So, according to the landlord's
      7     ledger, the account that you were executing
      8     upon against Mr. Morales had, in fact, been
      9     paid entirely, right?
     10             A.      I've never seen this before and
     11     not according to what I know about it.
     12             Q.      So, let's drill down to that.
     13                     When you receive a payment
     14     either from Mr. Morales or here --
     15             A.      Clara Potter.
     16             Q.      Thank you.
     17                     So, in this case, there are two
     18     judgement debtors.            One was Clara Potter,
     19     who actually had a judgment, and then there
     20     was Mr. Morales, who actually did not have
     21     a judgement against him, correct?
     22             A.      Right.     There was a debtor and
     23     a judgment debtor, correct.
     24             Q.      And your office was receiving
     25     payments from Clara Potter, correct?


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      1                            G. KAVULICH
      2             A.      Correct.
      3             Q.      And do you forward those
      4     payments on to the judgment creditor, the
      5     Rosewall Gardens?
      6             A.      Yes.
      7             Q.      And how often do you forward
      8     payments that you receive from judgment
      9     debtors or alleged judgment debtors in this
     10     case, how often do you forward that to
     11     Rosewall?
     12             A.      Monthly.
     13             Q.      Do you provide a single check
     14     with -- how does the payment system work?
     15             A.      We send it out a month later,
     16     the middle of the following month, with a
     17     remittence check, an escrow check, with an
     18     outline of the name of the case, or at
     19     least the relevant information about -- in
     20     this type of a debt, who the landlord was,
     21     the address, the apartment number, the
     22     defendant or defendants, how much we
     23     collected, what the client's share is and
     24     what our share is.
     25             Q.      And who's in charge of keeping


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      1                           G. KAVULICH
      2     track of how much is due on the punitive
      3     judgment, your office or the landlord?
      4             A.      Our office, once they give it
      5     to us.       If there's any change, they would
      6     seemingly let us know.
      7             Q.      So, are there ledger statements
      8     to the landlord that would govern the
      9     payments received from Clara Potter?
     10             A.      What we gave them is what I
     11     just mentioned.         As we collect a payment,
     12     then we give them the identifier
     13     information and what we collected that
     14     month.
     15             Q.      You do separate payments for
     16     each account or do you do one?
     17             A.      Let's just say for argument's
     18     sake we had five cases for 2300 Sedgwick,
     19     we'd break that down.           Five different
     20     payments that may be in one physical check.
     21             Q.      But for each index number, do
     22     you give a single check or -- I mean
     23     because you're collecting on 5,000
     24     judgements, so --
     25             A.      No.    I have 5,000 judgments.


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      1                           G. KAVULICH
      2     I'm collecting on maybe 500 of them.
      3             Q.      Fair enough.       I'm just
      4     wondering.
      5                     So, are you saying the payments
      6     you receive in a month in a particular
      7     index number, you give one check for that
      8     index number per month if you collect
      9     money, is that what you're saying?
     10             A.      No.    What I'm saying is -- I
     11     don't know -- so, let's just say we have
     12     five cases from this address, 2300
     13     Sedgwick.       We have these folks, then we
     14     have John Doe, then we have Jane Doe and
     15     then we have John Smith, whatever.
     16                     We have a remittance sheet that
     17     shows those five identifiers, the parties,
     18     apartments, et cetera, how much we
     19     collected for each, how much the client's
     20     share is for each and what our share is.
     21     That then is -- there's a total or subtotal
     22     and then there's one check for all five.
     23             Q.      And is that a physical ledger
     24     that goes with each check?
     25             A.      Yeah, it's a piece of paper.


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      1                            G. KAVULICH
      2             Q.      Is that piece of paper
      3     generated by your computer system?
      4             A.      Yes.
      5             Q.      Where on your collection notes
      6     would those ledgers be reflected?
      7             A.      They're not.       They print.       That
      8     goes with the check.           It's not in the
      9     system.
     10             Q.      So, when you give the check and
     11     it says how much goes to Rosewall, how much
     12     goes to you for fees, do you also print in
     13     the ledger what the balance due is?
     14             A.      No.
     15             Q.      If I understand correctly from
     16     your prior testimony, you don't calculate
     17     the balance due, you rely on the marshall
     18     to do that, correct?
     19             A.      On income executions or
     20     property executions, yes.
     21             Q.      So, when you make a remittence
     22     to Rosewall, are you saying that you don't
     23     know what the current balance is on those
     24     accounts?
     25             A.      No.    I'm saying we can


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      1                           G. KAVULICH
      2     ascertain it, but that's not the purpose
      3     when we remit the check.            We're just
      4     remitting money for that particular month
      5     or period.
      6             Q.      But that balance left is not
      7     stated on the remittances?
      8             A.      Correct.
      9             Q.      When you said you can calculate
     10     the balance due --
     11             A.      No, I didn't say that.           I said
     12     I can get it.
     13             Q.      How can you get it?
     14             A.      I would call the marshall.
     15             Q.      Any other way?
     16             A.      I could sit there and do the
     17     math, but the marshall's system and the
     18     calculation of interest, I trust their
     19     numbers.
     20             Q.      But if I understand correctly,
     21     your computer system isn't set up to both
     22     calculate the interest and apply the
     23     payments and determine the balance on a
     24     judgment account; is that right?
     25             A.      Correct.


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      1                           G. KAVULICH
      2             Q.      So, any payments that were made
      3     on this index number that went to Rosewall
      4     would be reflected on Exhibit 9, correct?
      5             A.      Again, I don't know.          I've
      6     never seen this in all the years that I've
      7     done work for them.
      8             Q.      Because you don't see it from
      9     Rosewall's accounting, you see it from your
     10     own accounting?
     11             A.      See what, the payments?
     12             Q.      The ledger, right.
     13             A.      Yeah, I can see the payments
     14     that we received from our account.                I don't
     15     know -- cash receipts seems somewhat
     16     self-explanatory, but I don't even know.
     17             Q.      That was the next question I
     18     was going to ask.
     19                     In the ledger, Exhibit 9, page
     20     two, it talks about cash receipt and legal.
     21     I guess I was going to ask you if you knew
     22     what legal meant?
     23             A.      No.
     24             Q.      What is the split between you
     25     and Rosewall for each payment that you get


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      1                           G. KAVULICH
      2     on a judgment account?
      3                     MR. PASHKIN:       Objection as to
      4             relevance.
      5             A.      One-third, two-thirds.
      6             Q.      One-third to you, two-thirds to
      7     them?
      8             A.      Yeah.     I wish it was the other
      9     way.
     10             Q.      And do expenses come off the
     11     top before you divide it?
     12                     MR. PASHKIN:       Objection as to
     13             relevance.
     14             A.      No, they come out of his share.
     15             Q.      So, it's one-third to
     16     two-thirds, and from that two-thirds the
     17     expenses come out?
     18             A.      Correct.
     19                     MR. KESHAVARZ:        Mitchell, can
     20             we stipulate that this is the
     21             documents from Rosewall, that this is
     22             the ledger produced by Rosewall?
     23                     MR. PASHKIN:       I don't have it
     24             in front of me.         You can identify it
     25             as what you believe was produced, but


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      1                           G. KAVULICH
      2             he can't testify as to its contents,
      3             though.
      4                     MR. KESHAVARZ:        And you can't
      5             stipulate to it?
      6                     MR. PASHKIN:       No.
      7             Q.      Now, do you know why it says
      8     the current balance due is negative $402?
      9                     MR. PASHKIN:       Objection.       He
     10             can't testify as to what is on
     11             someone else's document.
     12                     MR. KESHAVARZ:        Maybe he can.
     13             It depends --
     14             A.      No.
     15                     MR. PASHKIN:       That's my
     16             objection.       So, we're not arguing.
     17             I'm putting my objection on the
     18             record.
     19                     MR. KESHAVARZ:        I know you're
     20             not intending to do this, but you can
     21             make an objection as to form, because
     22             there's a concern, and even though --
     23                     MR. PASHKIN:       I'm making an
     24             objection that he's not competent to
     25             testify as to a document another


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      1                           G. KAVULICH
      2             entity created.
      3                     MR. KESHAVARZ:        And that's
      4             preserved by an objection to form.
      5             And I ask that you limit the
      6             objection as to form or if you want
      7             to talk about preserving a privilege.
      8                     MR. PASHKIN:       I'm going to put
      9             a specific objection on the record.
     10             That's what I'm going to do.
     11                     MR. KESHAVARZ:        I don't believe
     12             that's appropriate.
     13             A.      Look, I've always answered your
     14     questions to the best of my ability.                 I've
     15     never seen it and I don't know.
     16             Q.      So, this is Rosewall's end.
     17                     Are these payments matching up
     18     to your payments?
     19                     Let me rephrase that.
     20                     If I had the collection notes,
     21     are you saying the payment history, in
     22     terms of the amount that gets forwarded to
     23     the client, the amount that gets kept as a
     24     collection fee, are you saying that that
     25     payment history would not be reflected on


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      1                           G. KAVULICH
      2     the collection notes?
      3             A.      Say it again.
      4             Q.      Basically what I'm trying to do
      5     is compare Exhibit 9, which is Rosewall's
      6     ledger, with your records and try to put
      7     them side by side to see if those payments
      8     match.
      9                     So, I guess I'm asking, where
     10     in your documents or where in your system
     11     would that ledger exist, if anywhere, so
     12     that I could match up the payment dates and
     13     the amounts?
     14             A.      Then I think what you're asking
     15     for are copies of the remittances.                Right?
     16     Because that shows the breakdown of what
     17     was collected and what was given to the
     18     client by month.
     19             Q.      So, are you able to generate a
     20     report with all the remittances?
     21             A.      I would have to make copies of
     22     those copies that we had already sent.
     23             Q.      So, it's a physical piece of
     24     paper, the remittances?
     25             A.      Yeah, sure.       How else are you


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      1                            G. KAVULICH
      2     going to do it?
      3             Q.      Well, the computer generates
      4     it.    I'm just asking.         Nothing
      5     argumentative.
      6                     But the computer generates the
      7     remittances, right?
      8             A.      Yes.
      9             Q.      So, I'm just wondering, the
     10     computer system can't just generate a
     11     ledger of all the payments, you have to
     12     keep the hardcopy?
     13             A.      You mean like a screen shot of
     14     it?    Yeah.
     15             Q.      Your system can do that?
     16             A.      Yeah.
     17             Q.      That's not in the collection
     18     notes, it's somewhere else?
     19             A.      No, that wouldn't be in there.
     20     That's there (indicating).             This here, how
     21     much we collect.
     22                     MR. KESHAVARZ:        Let's mark this
     23             as an exhibit.
     24             A.      I can give you a breakdown.             I
     25     think that's what you're asking for, right?


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      1                           G. KAVULICH
      2     I can provide you with that.
      3             Q.      Would you have to go to the
      4     physical pieces of paper, or how would you
      5     do that?
      6                     Would you go to the physical
      7     pieces of paper that were the remittances
      8     or would you obtain that by some other
      9     manner?
     10             A.      No, I think we have a screen
     11     like that.
     12             Q.      All right.
     13             A.      As part of the accounting.
     14             Q.      Do you know if that screen has
     15     been produced?        Because I don't recall
     16     seeing such a screen, but I could be
     17     mistaken.
     18             A.      I don't remember everything
     19     that was --
     20                     MR. PASHKIN:       I don't have my
     21             file.
     22                     MR. KESHAVARZ:        What was that?
     23                     MR. PASHKIN:       I don't have my
     24             file.
     25             Q.      So, it's a separate screen on


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      1                            G. KAVULICH
      2     your computer system that would list the
      3     payments that are made to the landlord and
      4     the amount that goes to them and the amount
      5     that goes to the collection fee?
      6             A.      Correct.
      7             Q.      Now, showing you Exhibit 10.
      8     This is your collection notes for the index
      9     number that is for both Clara Potter and
     10     James Morales, correct?
     11             A.      Correct.
     12             Q.      Now, you pointed before to the
     13     first page on the bottom that has a list of
     14     payments?
     15             A.      Correct.
     16             Q.      Is that different than the
     17     ledger that you're talking about in terms
     18     of payments to landlord?
     19             A.      Yes.
     20             Q.      That's different?
     21             A.      Yes.
     22             Q.      Because what I'm trying to ask
     23     you is to try to match up the landlord's
     24     records with yours and we've had a motion
     25     to compel to try to get those documents.


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      1                           G. KAVULICH
      2                     My question is this --
      3             A.      From the landlord.
      4             Q.      From your records.
      5             A.      Okay.
      6             Q.      Let me just ask you:          Are you
      7     able to get that ledger generated and
      8     either e-mail or faxed so that we can just
      9     compare it to the landlord's letter?
     10             A.      I can at some point later on
     11     today, but not until after 2:30.               Because
     12     the person who does that is --
     13                     MR. PASHKIN:       This has to end
     14             at 2:45.
     15                     MR. KESHAVARZ:        Off the record.
     16                     (Whereupon, an off-the-record
     17             discussion was held at this time.)
     18             Q.      You can have that e-mailed to
     19     me by the end of the day?
     20             A.      Sure.
     21                     MR. KESHAVARZ:        Can we have an
     22             agreement if he gets it, that will be
     23             forwarded to me?
     24                     MR. PASHKIN:       I have to talk to
     25             my client, actually.           So, no.     I


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      1                           G. KAVULICH
      2             haven't seen the document.             I'm going
      3             to reserve the right to examine the
      4             document for privilege and relevance.
      5             So, I'm not agreeing to produce
      6             something I haven't seen.
      7             Q.      Does that screen have a name?
      8             A.      I don't think so.
      9             Q.      Is it called the collection
     10     notes screen or --
     11             A.      No.    I think just the
     12     accounting.       There's no name for it.
     13             Q.      It's an accounting screen?
     14             A.      We call it that informally, I
     15     guess.       I don't know if we've ever referred
     16     to it.
     17             Q.      How does that work, do you see
     18     different tabs in the software where you
     19     just click on one tab or the other?
     20             A.      No.    It's just one page with --
     21     like we just described.            It's not a
     22     spreadsheet with tabs.
     23             Q.      No.
     24                     I mean the collection notes
     25     that are Exhibit 10, is that like one tab


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      1                           G. KAVULICH
      2     in the notes and you click on another tab
      3     and you see this accounting screen?
      4             A.      No, you'd have to go to
      5     accounting, to just accounting.
      6             Q.      Okay.
      7                     What other screens can you get,
      8     other than Exhibit 10 and let's just call
      9     it the accounting history, what other
     10     screens are there?
     11             A.      If they came up on a queue for
     12     a summons or things like that.              These are
     13     the only substantive informational
     14     depositories or places where you get
     15     information.
     16             Q.      When you say if it comes up in
     17     a queue --
     18             A.      Right.     We had spoken about
     19     this before.        It's like a tickler.
     20             Q.      So, is that a list of tickled
     21     items to come and that have passed, is it
     22     set up that way?
     23             A.      Yeah.     It would be like today's
     24     the 6th.       It will come up what summons are
     25     due today.


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      1                           G. KAVULICH
      2             Q.      Would it give you an historical
      3     list of the prior deadlines and the future
      4     deadlines?
      5             A.      Historical list?         It's the
      6     cases that are tickled today.              That's all.
      7     Or if they were on from yesterday and you
      8     didn't do anything with them.
      9             Q.      Now, are you able to tell from
     10     your collection notes the date that you
     11     sent the information subpoena and bank
     12     restraint as to Mr. Morales' account?
     13             A.      Per these notes, it says
     14     April 2nd.
     15             Q.      Of what year?
     16             A.      2015.
     17                     MR. KESHAVARZ:        Let's go off
     18             the record.
     19                     (Whereupon, an off-the-record
     20             discussion was held at this time.)
     21             Q.      Are you looking at the entry of
     22     4/21/2015?
     23             A.      No, I was looking at April 2nd,
     24     but not 4/21.
     25             Q.      So, April 2nd says that the


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      1                            G. KAVULICH
      2     information subpoena and bank restraint was
      3     sent to JP Morgan Chase?
      4             A.      Yes.
      5             Q.      I'm interested in TD Bank, when
      6     was the information subpoena and bank
      7     restraint sent to TD Bank?
      8             A.      It looks like April 10th -- no,
      9     sorry.       I don't know.      I'm not sure.
     10             Q.      Does a listing for 4/27/2015
     11     help?
     12             A.      No.
     13             Q.      Before we mark these, can you
     14     identify what Morales 51, 52 and 53 are and
     15     tell me if the documents go together or if
     16     they're separate?
     17             A.      This is, this page
     18     (indicating).
     19             Q.      Morales 51.
     20             A.      Morales 51 is a copy of a
     21     portion of what was sent as a bank
     22     restraint to TD Bank.           And that's dated
     23     March 18th, 2015.
     24             Q.      And when you say it's a
     25     portion, what else --


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      1                           G. KAVULICH
      2             A.      There are more pages to it.
      3             Q.      That one says 3/18/2015, is
      4     that the date it's actually mailed or do
      5     you know if there's a lag between the two?
      6             A.      Usually they go out on the same
      7     day.
      8             Q.      And would that be the date that
      9     the bank account was restrained or do you
     10     know?
     11             A.      No, that's the date that it was
     12     sent.
     13             Q.      What is Morales 52?
     14             A.      That is a property execution.
     15             Q.      And you're going to yell at us
     16     for not knowing this after all this time,
     17     but what's the difference between 51 and
     18     52?
     19             A.      You guys are spending tens of
     20     thousands of dollars to sue me and to
     21     protect your client and you can't take the
     22     time to remember what these things mean?
     23             Q.      Go ahead.
     24                     You said you guys, you mean me
     25     and your client?


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      1                            G. KAVULICH
      2             A.      Now, it's directed towards you.
      3     I mean common.         This isn't rocket science.
      4     This is the property execution that we sent
      5     to Marshall Biegel, I believe.
      6             Q.      And that's Morales 52, correct?
      7             A.      Correct.
      8             Q.      And that's sent on 4/27.            Why
      9     are there difference in times?
     10                     Do you get the information
     11     subpoena back and then send it to the
     12     marshall for execution?
     13             A.      Yes.
     14             Q.      So, the consumer wouldn't
     15     know -- there actually wouldn't be a bank
     16     restraint until Morales 52 is issued?
     17             A.      No.
     18                     THE WITNESS:       Can I go have a
     19             cigarette, please?
     20                     MR. KESHAVARZ:        Please.
     21                     Off the record.
     22                     (Whereupon, an off-the-record
     23             discussion was held at this time.)
     24                     MR. KESHAVARZ:        Since we
     25             referenced Morales 51 and 52, let's


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      1                            G. KAVULICH
      2             go ahead and formally mark them as
      3             exhibits.
      4                     (Whereupon, the aforementioned
      5             documents were marked as Plaintiff's
      6             Exhibits 11 and 12 for identification
      7             as of this date by the Reporter.)
      8             Q.      Now, just one last question on
      9     Exhibit 11, Morales 51.
     10                     You forward this to TD Bank,
     11     right?
     12             A.      Yes.
     13             Q.      And you know and you intend for
     14     TD Bank to forward this to the consumer,
     15     Mr. Morales, correct?
     16             A.      Yes.
     17             Q.      Going back to Plaintiff's
     18     Exhibit 10, the collection notes.               If you
     19     go to the entry on the second page of
     20     4/30/2015, please.            And is that an entry
     21     that you put in?
     22             A.      No.
     23             Q.      Even though it says G. Kavulich
     24     as the user?
     25             A.      For 4/30 it doesn't say G.


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      1                            G. KAVULICH
      2     Kavulich.
      3                     Well, there are two.
      4             Q.      The higher one?         Excuse me.
      5             A.      Yes, that was mine.
      6             Q.      Can you read that into the
      7     record?
      8             A.      "Patrick Castellan, attorney
      9     with Claro, called office and stated we
     10     don't a judgement.            Explained L&T judgment.
     11     Kind of set him back on his heels."
     12             Q.      Now, Claro is the volunteer
     13     legal services clinic; is that right?
     14             A.      Yes.
     15             Q.      Why didn't you go and check to
     16     see if, in fact, there was a judgment
     17     against Mr. Morales when the attorney from
     18     Claro told you there, in fact, was no
     19     judgement?
     20             A.      Because my recollection is that
     21     Mr. Castellan called and gave me the index
     22     number of the civil case that had been
     23     discontinued that we discussed last time.
     24             Q.      Now, having gone through all
     25     the court papers now and before, do you


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      1                            G. KAVULICH
      2     know where Mr. Morales would have obtained
      3     a copy of the landlord/tenant -- the civil
      4     court index number?
      5             A.      Can I --
      6             Q.      Let me rephrase that.
      7                     Did you forward to Mr. Morales
      8     any document with the civil court index
      9     number?
     10             A.      Well, he was served with the
     11     summons.       The mailing would have been sent
     12     to him and the notice of discontinuance
     13     would have been.         And they all would have
     14     contained the civil index number.
     15             Q.      Anything else that you would
     16     have sent to Mr. Morales that would have
     17     had the index number for the Civil Court
     18     proceeding?
     19             A.      No.
     20             Q.      Now, go to the entry of
     21     5/7/2016.       I can't really read that.
     22             A.      What's the --
     23             Q.      "Received another call" --
     24             A.      Yes.
     25             Q.      Can you read that into the


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      1                           G. KAVULICH
      2     record, please.
      3             A.      "Received another call from a
      4     Legal Aid attorney insisting that our
      5     restraint is bad.         She looked up the L&T
      6     index number on e-courts and saw a
      7     different caption.            I explained to her that
      8     the L&T index numbers aren't on e-courts
      9     and that what she is seeing is indeed a
     10     different case with a similar index, but
     11     it's not the same."
     12             Q.      And do your notes indicate who
     13     put that into the system?
     14             A.      Matthew Casper.
     15             Q.      And what were Matthew Casper's
     16     main responsibilities there at the time?
     17             A.      He was our associate at the
     18     time.
     19             Q.      What were his main
     20     responsibilities?
     21             A.      Draft papers, speak to clients.
     22     Attorney work.
     23             Q.      And given the two calls by the
     24     Legal Aid attorneys, particularly in
     25     retrospect, should your office have checked


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      1                           G. KAVULICH
      2     to see if, in fact, there was a judgment
      3     against Mr. Morales?
      4             A.      Based on what I believe
      5     happened, no.        Solely as to their call,
      6     because they were calling as -- my
      7     recollection is they were calling about the
      8     civil index number.
      9             Q.      And so, your recollection is
     10     just based on reading these two collection
     11     notes, is that right, or do you have an
     12     independent recollection?
     13             A.      And a vague recollection of at
     14     the time.
     15             Q.      So, if you had to do it all
     16     over again and you got these two phone
     17     calls, would you still have continued the
     18     execution against Mr. Morales?
     19                     MR. PASHKIN:       Objection as to
     20             relevance.
     21             A.      If it happened as it did, that
     22     they were calling about a civil index
     23     number, I just would have answered that
     24     question as to the civil index number.
     25                     MR. KESHAVARZ:        Okay.     Let me


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      1                           G. KAVULICH
      2             mark this as an exhibit.
      3                     (Whereupon, a motion was marked
      4             as Plaintiff's Exhibit 13 for
      5             identification as of this date by the
      6             Reporter.)
      7             Q.      I'm showing you what's been
      8     marked as Plaintiff's Exhibit 12, Morales
      9     Bates stamped 57 through 68.              Can you
     10     identify that document, sir?
     11             A.      It's a motion objecting to a
     12     claimed exemption.
     13             Q.      And did you file that document?
     14             A.      Did I file it?        No.
     15             Q.      Did your office send a copy of
     16     Exhibit 12 to TD Bank?
     17             A.      I would have to look at the
     18     notes.
     19             Q.      Does anything in the document
     20     itself at the end of the document tell you?
     21             A.      Yes, it seems to be like we
     22     did.
     23             Q.      And what makes you say that?
     24             A.      Because I signed it.
     25             Q.      Just to make it clear for


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      1                           G. KAVULICH
      2     the --
      3             A.      I signed the affirmation of
      4     service.
      5             Q.      On page Morales --
      6             A.      68.
      7             Q.      Okay.     Thank you.
      8                     MR. KESHAVARZ:        So, just to
      9             clarify the record, there were
     10             accidentally two Plaintiff's Exhibits
     11             12.     So, to correct the record,
     12             Plaintiff's Exhibit 13 is, in fact,
     13             Morales pages 57 through 68.
     14             Q.      So, we're trying to figure out
     15     why Claro's attorney might have called you
     16     and said there's a case -- you restrained
     17     his account in a civil index number.
     18                     And if you take a look at the
     19     first page of the caption, where is that
     20     captioned in?
     21             A.      Bronx.
     22             Q.      That's in the Civil Court of
     23     the Bronx, correct?
     24             A.      Correct.
     25             Q.      So, just looking at this top


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      1                           G. KAVULICH
      2     left-hand corner, this would indicate that
      3     there is a motion objecting to an exemption
      4     claim form in Bronx Civil Court, correct?
      5             A.      In Bronx Civil Court in the
      6     housing part of Civil Court.
      7             Q.      And is part 34H the housing
      8     part?
      9             A.      Relevant to these types of
     10     cases, yes.
     11             Q.      Okay.
     12                     Was the motion that's Exhibit
     13     13 ever calendared with the court?
     14             A.      I think not.
     15             Q.      What makes you say that?
     16             A.      Because in the exhibit you're
     17     showing me it says never calendared.
     18             Q.      From your own records or
     19     collection notes or from any other source,
     20     is that true, was it, in fact, never
     21     calendared?
     22             A.      It was calendared in our system
     23     when we did the motion, I'm assuming.                 But
     24     I don't believe it ever made it to the
     25     actual court calendar.


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      1                           G. KAVULICH
      2             Q.      Do you know why not?
      3             A.      No.
      4             Q.      Do you know if your staff ever
      5     contacted the court to set it for a
      6     calendar?
      7             A.      If my staff ever what?
      8             Q.      Contacted the court to set a
      9     hearing on the motion.
     10             A.      If my staff --
     11             Q.      Is there any indication that
     12     your staff ever actually tried to set a
     13     hearing date on the objection to the
     14     exemption claim form that's Exhibit 13?
     15             A.      It seems at a certain point we
     16     did when we drafted the motion.
     17             Q.      What makes you say that?
     18             A.      Because we drafted the motion.
     19             Q.      Okay.
     20                     Now, did anyone from your firm
     21     ever go to the date and time of the
     22     hearing, at least that's listed on Exhibit
     23     13, May 18th, 2013?
     24             A.      It doesn't seem so.
     25             Q.      Do you know why?


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      1                            G. KAVULICH
      2             A.      No.    I would have to go back
      3     and look.
      4             Q.      Where would you look?
      5             A.      In my notes.
      6             Q.      In your collection notes?
      7             A.      Yes.
      8             Q.      So, take your time and look at
      9     Exhibit 10, if it helps you.
     10             A.      It looks like shortly before
     11     that date, that it was determined that the
     12     housing, the L&T court judgement, was not
     13     against Mr. Morales.
     14             Q.      And what entry makes you say
     15     that?
     16             A.      The May 18th entry.
     17             Q.      What does it say?
     18             A.      "Advised marshall to vacate
     19     property execution versus Morales.                Final
     20     judgment not against him."
     21             Q.      Do you know from your records,
     22     or from any other source, what triggered
     23     your office to finally realize there was
     24     not judgment against Mr. Morales?
     25             A.      No, I don't recall.


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      1                            G. KAVULICH
      2             Q.      Was there anything in your
      3     records, in the collection notes, or any
      4     other document in your possession, custody
      5     or control, that suggests to you why your
      6     office finally realized that there was no
      7     judgment against Mr. Morales?
      8             A.      No.    It must have been through
      9     discussion and review.           But I can't tell
     10     you.
     11             Q.      In your notice of motion you
     12     make reference to a judgment actually being
     13     attached to your motion, correct?
     14             A.      Yes.
     15             Q.      What item is that for the Court
     16     Reporter, what page number?
     17             A.      Bates stamp 59.
     18             Q.      And what line number?
     19             A.      Paragraph four.
     20             Q.      And what does it say?
     21             A.      "Thereafter, petitioner
     22     obtained a money judgment on or about March
     23     13th, 2008 against the respondent in the
     24     sum of $4,352.74."            And next to your 2 is
     25     Exhibit 1, a copy of said judgment.


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      1                            G. KAVULICH
      2             Q.      And Exhibit 1 is not, in fact,
      3     a judgment, correct?
      4             A.      It's a judgment stipulation.
      5             Q.      Against who?
      6             A.      No, it's captioned against both
      7     parties, Clara Potter and James Morales.
      8     But the judgment was only against
      9     Ms. Potter.
     10             Q.      And you're looking at Morales
     11     62?
     12             A.      Yes.
     13             Q.      Is Morales 62 even the
     14     judgement against Ms. Potter?
     15             A.      No, it's the stipulation
     16     providing for it.
     17             Q.      So, if you had meaningfully
     18     reviewed all the facts and circumstances of
     19     the motion, should you have noticed that,
     20     in fact, when you say that there's a
     21     judgment attached, that you didn't actually
     22     attach the judgement?
     23             A.      Say that again.
     24             Q.      If you did a meaningful
     25     attorney review of the facts and


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      1                           G. KAVULICH
      2     circumstances of the account for which
      3     you're objecting to the exemption claim
      4     form, should you have noticed that when you
      5     said under oath that the attached, that you
      6     didn't, in fact, attach the judgment?
      7             A.      Well, there's no judgment
      8     attached.       So, there should have been.
      9             Q.      Or you should have checked to
     10     see if there was a judgment at all against
     11     Mr. Morales?
     12             A.      I believe that there was a
     13     judgment form that the Housing Court issues
     14     and this was put mistakenly in place of
     15     that.
     16             Q.      We can pull out the form if
     17     you'd like, but I'll just ask you straight
     18     away, since you know this stuff much better
     19     than I do:       The judgment against
     20     Mr. Morales was only a possessory judgment,
     21     it was not a money judgement, correct?
     22             A.      Correct.
     23             Q.      And a money judgement can't be
     24     entered in a landlord/tenant unless the
     25     consumer actually shows up at the


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      1                           G. KAVULICH
      2     landlord/tenant proceeding, correct?
      3             A.      These days.       But not years ago,
      4     no, that's not true.
      5             Q.      At the date that the possessory
      6     judgment against Mr. Morales was entered,
      7     do you know if the rule was still there?
      8             A.      No, it was not.         Oftentimes in
      9     my experience in the 2000s, even though one
     10     party didn't show up, there was a money
     11     judgment entered against them, because only
     12     one of the defendants/respondents appeared.
     13             Q.      Do you know if that was proper
     14     under the rules at that time or do you not
     15     know?
     16             A.      I don't know every Housing
     17     Court rule, no.
     18             Q.      The reason I ask is you say
     19     that's the rule now is that they can't get
     20     a money judgment unless they're there,
     21     right, that's the rule now?
     22             A.      That's the practice now, yeah.
     23     So, I'm assuming that's the rule.
     24             Q.      Was that the practice and the
     25     rule back then?


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      1                            G. KAVULICH
      2             A.      I know that it was the
      3     practice.       If somebody gives me a judgment
      4     with somebody's name on it, I assume it's
      5     valid, you know, issued from the court
      6     anyway.
      7             Q.      What I'm trying to nail down
      8     is --
      9             A.      I don't know the rule, the
     10     Housing Court rule.           I'm not a Housing
     11     Court attorney.
     12             Q.      Well, you worked at Gutman &
     13     Mintz for years and you were at Housing
     14     Court getting stipulations on Housing Court
     15     cases every --
     16             A.      That's all I did, was write
     17     stipulations.         I wasn't in charge, nor did
     18     I participate in any other meaningful
     19     adjudication of Housing Court law.
     20             Q.      But you worked five days a week
     21     usually --
     22             A.      No.
     23             Q.      Most of the time you were
     24     actually -- when they make the hearing date
     25     for a landlord/tenant case, you would go


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      1                           G. KAVULICH
      2     there and enter into stipulations at those
      3     court dates, correct?
      4             A.      Correct.      But I, very rarely
      5     would I ever see -- all I would see is
      6     this, page 62.        I wouldn't touch or see the
      7     judgments, generally, or the judge's order
      8     beside this.
      9             Q.      And 62, again, is what?
     10             A.      Is the stipulation from Housing
     11     Court.
     12             Q.      That stipulation is just an
     13     agreement, it's not a judgment?
     14             A.      It's an agreement providing for
     15     something.       In this case it was for a
     16     judgement.
     17             Q.      But the judgment would be
     18     entered in the future, not at that time?
     19             A.      If you mean by future, within
     20     15 minutes, yes.         Or 5 minutes or 20
     21     minutes.       The clerk would then write or
     22     type a judgment.
     23             Q.      Well, let me ask this
     24     specifically, and I tried to ask you it
     25     before, but maybe I didn't ask it well.


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      1                           G. KAVULICH
      2                     So, this is the question:            If
      3     you'd done a meaningful attorney review of
      4     the facts and circumstances of
      5     Mr. Morales' account, should you have
      6     determined whether, in fact, there was a
      7     money judgment against him as indicated on
      8     paragraph three of your affirmation?
      9                     MR. PASHKIN:       Objection to
     10             form, calls for a legal conclusion.
     11             A.      I don't know.
     12             Q.      Would you have done it all over
     13     again?
     14             A.      Would I do what?
     15             Q.      Make the same affirmation.
     16             A.      If I knew there wasn't a
     17     judgment, no, of course not.
     18             Q.      You should have checked to see
     19     if there was a judgement prior to --
     20             A.      I did.     I checked, but I was
     21     mistaken in my checking.
     22             Q.      How do you know you checked?
     23             A.      Because this would have been
     24     with the judgment (indicating).
     25             Q.      62?


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      1                            G. KAVULICH
      2             A.      Yes.
      3                     MR. KESHAVARZ:        Mark this.
      4                     (Whereupon, an Answer was
      5             marked as Plaintiff's Exhibit 14 for
      6             identification as of this date by the
      7             Reporter.)
      8             Q.      I'm showing what what's been
      9     marked as Plaintiff's Exhibit 14.               This is
     10     your Answer in this FDCPA lawsuit; is that
     11     right?
     12             A.      Yes.
     13             Q.      So, one of the things that you
     14     were noticed for is on behalf of your firm,
     15     the PC, you're to answer the basis from
     16     your claims and defenses in the case.
     17                     So, let me just go through the
     18     defenses on page eight, please.
     19                     The second affirmative defense:
     20     What's the basis for the affirmative
     21     defense that the action is barred by the
     22     expiration of the applicable statute of
     23     limitations?
     24             A.      You'd have to ask my attorney.
     25             Q.      Do you have any factual basis


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      1                           G. KAVULICH
      2     sitting here today in support of that?
      3             A.      I'm not sure.
      4             Q.      And it's going to be the same
      5     for these other ones, so let me just go
      6     through them one at a time.
      7             A.      And so will the answers.
      8             Q.      For the record, I just have to
      9     do it.
     10                     For the third affirmative
     11     defense that the claims are barred in whole
     12     or in part by the doctrine of res judicata,
     13     collateral estoppel and/or judicial
     14     estoppel, what is the basis of that
     15     affirmative defense?
     16             A.      You'd have to ask my attorney.
     17             Q.      And do you know of any factual
     18     basis for that affirmative defense?
     19             A.      I would have to refer to -- I
     20     would have to discuss it with my attorney.
     21             Q.      Is that the same answer for the
     22     fourth affirmative defense?
     23             A.      As well as the fifth and sixth,
     24     yes.
     25             Q.      Okay.


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      1                           G. KAVULICH
      2                     Now, when we had the first part
      3     of your deposition in this case -- I
      4     believe it was in this case -- we talked
      5     about the issue about whether money that's
      6     exempt is commingled with money that is not
      7     exempt, whether that means all of the funds
      8     become nonexempt, do you remember that
      9     conversation?
     10             A.      Vaguely.
     11             Q.      Did you --
     12                     MR. PASHKIN:       Off the record.
     13                     (Whereupon, an off-the-record
     14             discussion was held at this time.)
     15             Q.      Now, in the prior deposition
     16     we'd asked if you'd knew of any cases to
     17     support the assertion that mingling
     18     exemption money with nonexempt money means
     19     the entire pot becomes nonexempt, do you
     20     remember discussing that before?
     21             A.      Vaguely.      But yes.
     22             Q.      And so, you indicated
     23     previously that you thought that there was
     24     a case in Kings County Court that held
     25     that, do you remember that?


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      1                           G. KAVULICH
      2             A.      I'm sorry, I was writing it
      3     down to remember to do it.             Go ahead.
      4             Q.      Do you remember testifying
      5     previously that you believed that there was
      6     a case in Kings County that stood for that
      7     proposition about commingling?
      8             A.      Yes, there surely was, but I
      9     don't remember the name of the case.
     10             Q.      Do you recall any of the
     11     details about the case, in terms of where
     12     exactly it was?
     13             A.      Brooklyn.
     14             Q.      Brooklyn Small Claims Court?
     15             A.      Yes, civil.       Small claims, yes.
     16             Q.      Is that the same as Civil
     17     Court?
     18             A.      Well, it's part of it.
     19             Q.      What's the jurisdictional
     20     limit, do you remember?
     21             A.      It's $5,000.       But I think then
     22     it might have been 3,500.
     23             Q.      Is that the only basis that you
     24     have for that belief about the commingling
     25     of accounts?


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      1                           G. KAVULICH
      2             A.      I would have to check.
      3             Q.      Sitting here today, that's all
      4     you can recall?
      5             A.      Sitting here now, without any
      6     further checking, yes.
      7             Q.      To your recollection, was that
      8     Small Claims Court opinion ever adopted by
      9     any other court, to your knowledge?
     10             A.      I don't know.
     11             Q.      All of the payments that were
     12     collected on the index number against
     13     Ms. Potter and Mr. Morales, do you know if
     14     the payments that were made came from an
     15     income execution on Ms. Potter?
     16             A.      A, I don't believe that there
     17     were any moneys collected from Mr. Morales.
     18     B -- that's it.         And my belief is that the
     19     moneys collected from Ms. Potter were
     20     pursuant to a wage garnishment.
     21             Q.      And I might have asked the
     22     question imprecisely.
     23                     Are all the moneys that were
     24     paid towards the index number that was a
     25     judgment for Ms. Potter and a non-judgment


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      1                            G. KAVULICH
      2     for Mr. Morales, were all those payments
      3     made towards that index number come
      4     entirely from Ms. Potter?
      5             A.      Yes.
      6             Q.      None of them came from
      7     Mr. Morales?
      8             A.      Correct.
      9             Q.      And all the money from
     10     Ms. Potter came from wage executions?
     11             A.      I believe so, yes.
     12             Q.      Do you know how much money was
     13     restrained from Mr. Morales' TD Bank
     14     account?
     15             A.      My recollection is that it was
     16     a little bit less than $1,100.
     17             Q.      Do you know how long the money
     18     in Mr. Morales' TD Bank account was
     19     restrained for?
     20             A.      About a month.
     21             Q.      After a month it was released?
     22             A.      Actually, about three weeks and
     23     then it was released.
     24             Q.      And what do you base this on?
     25             A.      Our notes.


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      1                            G. KAVULICH
      2             Q.      I'll go back to that in a
      3     second.
      4                     Now, when a bank restraint is
      5     issued, the bank takes out a $75 processing
      6     fee, correct?
      7             A.      Different banks have different
      8     amounts.
      9             Q.      Usually about $75?
     10             A.      Yes.
     11             Q.      That money being taken out of
     12     the TD Bank account was caused by the
     13     improper bank restraint by your office
     14     against Mr. Morales, correct?
     15             A.      Correct.
     16             Q.      Did your office ever refund
     17     Mr. Morales --
     18             A.      No.
     19             Q.      Did your office ever return the
     20     processing charges of $75 to Mr. Morales?
     21             A.      No.
     22             Q.      Why not?
     23             A.      I don't know.
     24             Q.      Did you actually collect any
     25     money from the restraint of Mr. Morales' TD


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      1                           G. KAVULICH
      2     Bank account?
      3             A.      No.
      4             Q.      When a bank account is
      5     restrained and the bank takes out its
      6     processing fee, the bank generally doesn't
      7     return the processing fee when the account
      8     is released, right?
      9             A.      I don't know that.
     10             Q.      You don't know one way or the
     11     other?
     12             A.      No.
     13             Q.      Do you know if your office
     14     restrained Mr. Morales' TD Bank account
     15     more than once?
     16             A.      No, just once.
     17             Q.      Okay.
     18                     Now, where in your notes or
     19     from any other document do you base the
     20     statement that $1,100 in Mr. Morales' TD
     21     Bank account was restrained?
     22             A.      Where did I get that amount?
     23             Q.      Yeah.
     24             A.      Because he called the office.
     25             Q.      What date entry?


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      1                            G. KAVULICH
      2             A.      April 27th, 2015.
      3             Q.      And you're looking on the
      4     collection notes, Exhibit 10?
      5             A.      Yes.
      6             Q.      And can you read that entry?
      7             A.      "James, TD Bank has $1,081.19
      8     restrained.       Will PX.      No POB in TD."
      9             Q.      Can you translate those
     10     initials into words and reread that,
     11     please?
     12             A.      Property execution is PX.            POB
     13     is place of business.
     14             Q.      So, can you reread that
     15     sentence as a sentence?            Just so it's clear
     16     on the record.
     17             A.      TD Bank has $1,081.19
     18     restrained.       Will do a property execution,
     19     but there's no job information.
     20             Q.      And you believe that's based on
     21     a call, those notes?
     22             A.      That actually is probably from
     23     the response from TD.
     24             Q.      So, that entry is from TD Bank
     25     itself?


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      1                            G. KAVULICH
      2             A.      In other words, we got the
      3     response from -- to the restraining notice
      4     we sent.
      5             Q.      So, TD Bank told you that they
      6     restrained $1,081.19?
      7             A.      Correct.
      8             Q.      What is the entry above that
      9     for 4/27/15, what does that mean?
     10             A.      That a property execution was
     11     issued or printed, created.
     12             Q.      For $4,352.74?
     13             A.      Yes.
     14             Q.      That's the face amount of the
     15     judgment against Clara Potter?
     16             A.      Correct.
     17             Q.      That didn't credit for any
     18     payments made by Clara Potter, correct?
     19             A.      Repeat that.
     20             Q.      That didn't credit for any
     21     payments made --
     22             A.      No, that would be up to the
     23     marshall, because it went to the same
     24     marshall who was collecting on the income
     25     execution.


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      1                           G. KAVULICH
      2             Q.      You have to let me finish the
      3     sentence.
      4                     The document that you generated
      5     saying that there was an amount due of
      6     $4,352.74, that did not credit the payments
      7     from the garnishments from Ms. Potter,
      8     correct?
      9             A.      Correct.
     10             Q.      And why not?
     11             A.      Because the marshall would make
     12     those credits that this property execution
     13     was sent to, because that marshall was
     14     collecting on the wage garnishment for
     15     Ms. Potter.
     16                     MR. KESHAVARZ:        Off the record.
     17                     (Whereupon, an off-the-record
     18             discussion was held at this time.)
     19             Q.      What does the next entry
     20     indicate to you?
     21             A.      The response to a restraining
     22     notice sent to JP Morgan Chase.
     23             Q.      And what was the response?
     24             A.      No deposit accounts.
     25             Q.      Do you know if your office has


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      1                           G. KAVULICH
      2     produced a document showing the information
      3     subpoena to JP Morgan Chase?
      4             A.      I don't remember, but I printed
      5     everything and everything was given to you.
      6             Q.      If you had --
      7             A.      This actually shouldn't have
      8     even been in there.           Because when we get
      9     negatives back, we usually don't process
     10     them.
     11             Q.      You talked about this in the
     12     prior deposition, but so this deposition is
     13     clear, what do you mean by that?
     14             A.      If we get a negative response
     15     back that there's no account then we
     16     discard it.
     17             Q.      You toss the record?
     18             A.      We shred it.
     19             Q.      And why do you do that?
     20             A.      Because we don't want people's
     21     Socials and information to get out.
     22             Q.      Why don't you scan that
     23     document?
     24             A.      You mean --
     25             Q.      Why don't you just scan or save


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      1                           G. KAVULICH
      2     that document into your file?
      3             A.      It's not very efficient.            We
      4     don't have a lot of people and it's
      5     irrelevant.
      6             Q.      So, the information subpoena to
      7     JP Morgan Chase, you'd agree that your
      8     office didn't have a legal right to issue
      9     that, given that there was no judgment
     10     against Mr. Morales?
     11             A.      Correct.
     12             Q.      And because this is an
     13     information subpoena only and not a bank
     14     restraint to JP Morgan Chase, Mr. Morales
     15     wouldn't be sent a copy of the information
     16     subpoena, correct?
     17             A.      Correct.
     18             Q.      So, Mr. Morales wouldn't have
     19     any knowledge of the information subpoena
     20     being sent to JP Morgan Chase?
     21             A.      Correct.
     22             Q.      What's the next entry, what
     23     does that indicate to you?
     24             A.      The docket number for the
     25     aforementioned property execution.


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      1                           G. KAVULICH
      2             Q.      And this is 4/30/2015 entry?
      3             A.      Right.
      4             Q.      And that's for the property
      5     execution for 4,352 right?
      6             A.      Well, 3,500 -- yes, for the
      7     other amount.
      8             Q.      What is 3594?
      9             A.      The file number.
     10             Q.      When you say docket number was
     11     received, what document is that, is there a
     12     document?
     13             A.      Yeah, we get like -- you get it
     14     in the mail from the marshall.
     15             Q.      What is it?
     16             A.      It's just a form and it has the
     17     name of the case, our file number and the
     18     docket number.
     19             Q.      Do you keep that response?
     20             A.      No.
     21             Q.      Do you know why you obtain them
     22     if you don't keep them?
     23             A.      Do --
     24             Q.      Do you know why they're sent to
     25     you if --


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      1                            G. KAVULICH
      2             A.      So we have the docket number.
      3             Q.      So, you just make note of the
      4     docket?
      5             A.      Yes, that's all it's worth.
      6             Q.      Before we go back, there was
      7     something before -- I can't remember which
      8     case -- about a 60-day extension?
      9             A.      Right.
     10             Q.      Tell me again what's that for.
     11             A.      For the property execution --
     12     in layman's terms -- to be renewed.
     13             Q.      That's a document that the
     14     marshall sends to your office?
     15             A.      Yes.
     16             Q.      And then what happens when you
     17     get that document?
     18             A.      We look to see if we still --
     19     the status of the case.            And if we're still
     20     seeking to collect, then we sign it and
     21     send it back.
     22             Q.      If you know the answer:            The
     23     marshall's notes in, I forget which case,
     24     says 60-day extension, 60-day extension,
     25     60-day extension every couple of months.


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      1                           G. KAVULICH
      2                     Does that mean that you sign
      3     the form and send it back to continue it
      4     and then they ask you again or do you know?
      5             A.      I don't know.        I can't answer
      6     for them.       But I know that when we get
      7     those, that's what that means.
      8             Q.      So, if you don't sign the
      9     extension request, what happens then?
     10             A.      I assume that they -- I don't
     11     know on their end.            On our end it's because
     12     we're not collecting -- we have no reason
     13     or desire to collect anymore.
     14             Q.      If you don't sign it and send
     15     it back, then all continued attempts to
     16     collect on that by the marshall cease?
     17             A.      Well, they should.
     18             Q.      What's the basis for the 60-day
     19     rule?
     20             A.      I don't know.        It's just
     21     something they came up with.
     22             Q.      Something in the CPLR?
     23             A.      Yeah.
     24             Q.      Thank you.
     25                     Now, the entry on 4/30 is the


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      1                            G. KAVULICH
      2     call from the Claro attorney again saying
      3     that there wasn't a judgment, correct?
      4             A.      Correct.
      5             Q.      And then the entry on 5/20/2015
      6     you received the exemption claim form, what
      7     does that mean?
      8             A.      On April 29th?
      9             Q.      Or is that May 5th?
     10             A.      Yes.
     11             Q.      What does that entry say?
     12             A.      "Received exemption claim.             Did
     13     motion objecting to same.            Served via mail
     14     and fax."
     15             Q.      Okay.
     16                     Exemption claim from James,
     17     who's James?
     18             A.      I skipped one, sorry.
     19     Mr. Morales, I'm assuming.
     20             Q.      Gave to GK, and that's you, to
     21     do an objection?
     22             A.      Correct.
     23             Q.      So, the guy in Laos, what's his
     24     name again?
     25             A.      Collin.


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      1                           G. KAVULICH
      2             Q.      Collin would draft that for you
      3     and then you would sign it?
      4             A.      No.
      5             Q.      How would that work?
      6             A.      Either I would do it or an
      7     associate.
      8             Q.      What's the entry before that
      9     say?
     10             A.      "Received exemption from James,
     11     gave to GK to do exemption."              That's what
     12     you just read.
     13             Q.      Yeah.
     14                     The entry one further up, what
     15     is that?
     16             A.      That's what I mistakenly read
     17     the first time.         "Received exemption claim.
     18     Did motion objecting to same.              Served via
     19     mail and fax."
     20             Q.      I meant the one above that.
     21     I'm sorry.
     22             A.      "Court date scheduled for L&T."
     23             Q.      The initials are yours.
     24                     Do you know if you, in fact,
     25     scheduled a court date for L&T?


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      1                            G. KAVULICH
      2                     Apparently not?
      3             A.      Right.     But again, this is all
      4     contemporaneous, if you see that we
      5     received the exemption and did the motion a
      6     minute later.        So, I must have did the
      7     motion and then calendared inhouse.
      8             Q.      So, 18:33 is the military time?
      9             A.      Yes.
     10             Q.      And then entry on 5/7 is the
     11     Legal Aid attorney again calling saying
     12     that there's no judgement?
     13             A.      Correct.
     14             Q.      And then you continued to do
     15     the execution on the judgment despite the
     16     call, correct?
     17             A.      Well, the status quo, but we
     18     didn't release it, yes.
     19             Q.      Then the one before that is
     20     regarding Ms. Potter.           The one before that,
     21     May 18th, 2015, can you translate that,
     22     please?
     23             A.      Subpoena?
     24             Q.      "Advised" --
     25             A.      "Advised marshall to vacate


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      1                           G. KAVULICH
      2     property execution versus Morales.                Final
      3     judgment not against him, Collin to send
      4     release."       Meaning the release to the bank.
      5             Q.      And again, you don't know what
      6     triggered the release of the judgment about
      7     why your office suddenly found out there
      8     was final judgement?
      9             A.      We reviewed it again, but I
     10     don't know what the -- why at that
     11     particular moment.
     12             Q.      Now, the 5/19 entries indicate
     13     that the bank account for Morales at TD
     14     Bank was released.            Or you tell me, I
     15     guess.
     16             A.      It doesn't mean that the
     17     account physically was released.               It meant
     18     that one was sent -- a release was sent.
     19             Q.      By who to who?
     20             A.      By Collin.
     21             Q.      By your office to who?
     22             A.      By my office to TD Bank.
     23             Q.      And was that also sent to the
     24     marshall?
     25             A.      The release, no.


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      1                           G. KAVULICH
      2             Q.      So, when was the first time --
      3             A.      We don't send a release to the
      4     marshall.       We just tell the marshall to
      5     release the property execution.               They don't
      6     need a formal document like a bank needs on
      7     our letterhead.
      8             Q.      A release to a bank is just a
      9     letter saying "release the account"?
     10             A.      Right.
     11             Q.      And does it say why?
     12             A.      No.
     13             Q.      And when was the first time
     14     that you told the marshall to release the
     15     account?
     16             A.      May 18th.
     17             Q.      And do you know how that
     18     information was conveyed?
     19             A.      I believe I e-mailed them.
     20             Q.      So, then why is it not till
     21     July 23rd, 2015 is there an indication that
     22     you advised the marshall to vacate the
     23     execution versus Mr. Morales?
     24             A.      I don't know.        It may have been
     25     one of those letters that you eluded to


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      1                            G. KAVULICH
      2     earlier.       I don't know.
      3             Q.      Well, is there any record, any
      4     document that shows that your office told
      5     the marshall to vacate the execution versus
      6     Mr. Morales prior to July 23rd, 2015?
      7             A.      I would have to review all of
      8     the documents.
      9             Q.      From the documents in front of
     10     you today, is there any record that you
     11     informed the marshall to vacate the
     12     execution against Mr. Morales prior to
     13     July 23rd, 2015?
     14             A.      Yes.
     15             Q.      And what is what?
     16             A.      My contemporaneous note on
     17     May 18th.
     18             Q.      But you don't know if that's a
     19     telephone call or if that's documented?
     20             A.      I don't recall.
     21             Q.      Nothing in your records
     22     indicates whether there was a documentation
     23     about letting the marshall know to release
     24     the money on May 18th?
     25             A.      Again, I just answered, I don't


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      1                           G. KAVULICH
      2     know.
      3             Q.      Do you know how much money
      4     you've paid your attorney to defend you in
      5     this FDCPA action?
      6                     MR. PASHKIN:       Objection as to
      7             relevance.
      8                     MR. KESHAVARZ:        You can answer.
      9                     MR. PASHKIN:       I'm not going to
     10             allow him to --
     11                     MR. KESHAVARZ:        What's the
     12             basis, on relevance?
     13                     MR. PASHKIN:       It's privileged.
     14             There's absolutely no basis for him
     15             to answer that question.
     16                     MR. KESHAVARZ:        Well, they're
     17             two different things.           Privilege, the
     18             amount paid is not a privileged
     19             issue.
     20                     MR. PASHKIN:       That's an
     21             irrelevant question.           That's just to
     22             harass my client.          There's been no
     23             basis to ask that question.
     24                     MR. KESHAVARZ:        Well, let me
     25             tell you what the basis is.             There's


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      1                           G. KAVULICH
      2             case law that says the amount paid to
      3             defense attorneys to defend an FDCPA
      4             action may, under some circumstances,
      5             be relevant to a reasonableness of a
      6             plaintiff's attorney's fees.
      7                     MR. PASHKIN:       Well, I'm not
      8             aware of any case law.            So, we can
      9             mark it for a ruling.           I will look it
     10             up or you can send me the case law.
     11                     MR. KESHAVARZ:        If you object
     12             to the form you preserve the
     13             objection.       So, what's the harm?
     14             Q.      Do you have any problem telling
     15     me how much you paid Mr. Pashkin?
     16             A.      I'm not going to answer that.
     17             Q.      But do you have any problem or
     18     concern with doing that?
     19             A.      I'm not going to answer that.
     20             Q.      Have you paid Mr. Pashkin?
     21             A.      Yes, I paid him some money.
     22             Q.      Do you know what the hourly
     23     rate Mr. Pashkin is charging you?
     24             A.      I don't remember.
     25             Q.      And you're going to follow your


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      1                           G. KAVULICH
      2     attorney's advice not to disclose how much
      3     you paid him?
      4             A.      Say that --
      5             Q.      Are you going to follow your
      6     attorney's advice and not disclose how
      7     much --
      8             A.      Well, if a judge tells me I'm
      9     supposed to, I'll go out there with a
     10     bullhorn.
     11             Q.      Other than that, no?
     12             A.      No.
     13             Q.      Now, how do you communicate
     14     with Rosewall regarding the collection
     15     activities you have on their behalf?
     16                     MR. PASHKIN:       Objection.       It
     17             was asked and answered during the
     18             first part of the deposition.
     19             A.      I'll answer it.
     20             Q.      Is it just a ledger or is it
     21     any other communication?
     22             A.      As we did discuss once before
     23     at length, I would go there when I did
     24     their work -- I don't do their work
     25     anymore -- but I would go there.


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      1                           G. KAVULICH
      2                     I don't remember exactly if
      3     they gave me breakdowns or they gave me a
      4     list.     I would then go to their files.              I
      5     would physically remove their files and,
      6     you know, within that would be a tenant
      7     file -- in these kinds of cases there would
      8     be a tenant file and it would have all the
      9     tenants that they could fit.
     10                     And I would take out the
     11     relevant or former tenant and then take out
     12     the necessary paperwork and copy it.
     13             Q.      That I remember.
     14             A.      Then I don't know what else
     15     you're asking.
     16             Q.      I meant during the course of
     17     the collections.
     18                     Other than giving the payment
     19     ledgers, during the course of your
     20     collections, do you communicate back and
     21     forth with Rosewall?
     22             A.      As necessary.
     23             Q.      Any particular reason that you
     24     would do that, would that be unusual?
     25             A.      I don't remember any particular


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      1                            G. KAVULICH
      2     circumstances, but let's just say, for
      3     example, there was a dispute.              We served a
      4     demand notice and there was a verification
      5     request.       But -- or we had a trial
      6     scheduled.
      7             Q.      Something like that?
      8             A.      Yes.
      9             Q.      When you give the payment
     10     ledger --
     11             A.      To Rosewall.
     12             Q.      -- do they give any accounting
     13     back to you or is it only your accounting
     14     to them?
     15                     Do they say this is what we
     16     have as a balance?
     17             A.      No.
     18                     MR. KESHAVARZ:        Let's go off
     19             the record.
     20                     (Whereupon, an off-the-record
     21             discussion was held at this time.)
     22             Q.      Does your office keep copies of
     23     complaints by consumers that you're
     24     restraining an account based on an invalid
     25     or nonexistent judgment?


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      1                           G. KAVULICH
      2             A.      I can't recall one, but any
      3     relevant document we usually do keep.
      4             Q.      But if you got a complaint from
      5     a consumer saying, "I don't have a
      6     judgment, you're restraining my account,"
      7     or a judgment has been vacated or so forth,
      8     would you keep that document or would you
      9     not keep that document?
     10             A.      Generally we would keep it.
     11             Q.      Why would you keep it?
     12             A.      Because it's relevant to the
     13     case.
     14             Q.      Do you keep track of how many
     15     such documents or complaints that you
     16     receive?
     17             A.      No.
     18             Q.      Do you know how many documents
     19     or complaints you've received?
     20             A.      No.
     21             Q.      I mean, other than Mr. Morales?
     22             A.      Correct.
     23                     MR. KESHAVARZ:        Let's mark this
     24             as an exhibit.
     25                     (Whereupon, a letter was marked


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      1                           G. KAVULICH
      2             as Plaintiff's Exhibit 15 for
      3             identification as of this date by the
      4             Reporter.)
      5             Q.      I'm showing what's been marked
      6     as Exhibit 17, Bates stamped Morales 71.
      7     Can you identify what that document is?
      8             A.      It's a letter from James
      9     Morales, dated July 17th, stating that we
     10     did an execution on his account at TD based
     11     on a judgment that didn't exist
     12     essentially.
     13             Q.      And you received that document
     14     on or about July 17th, 2015?
     15             A.      I don't recall.
     16             Q.      Do you have any record in your
     17     collection notes or elsewhere indicating
     18     that you've received the Exhibit 15, the
     19     July 17th, 2015 letter from Mr. Morales,
     20     indicating to you that you're restraining a
     21     bank account based on a nonexistent
     22     judgment?
     23             A.      No.
     24             Q.      So, your office has no record
     25     of receiving Exhibit 15?


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      1                           G. KAVULICH
      2             A.      Correct.      Especially in light
      3     that by that time, we had already advised
      4     the bank and the marshall to vacate.
      5             Q.      That's what I was going to get
      6     to, because we talked before about what the
      7     triggers could have been for taking certain
      8     actions.       So, let me talk about that
      9     trigger, if it's a trigger.
     10                     Exhibit 15, the July 17th
     11     letter, according to your notes, your
     12     collection notes on the 23rd, you then
     13     contact the marshall to tell the marshall
     14     to vacate the execution against
     15     Mr. Morales, correct?
     16             A.      On July 23rd?
     17             Q.      On July 23rd.
     18             A.      Right.     Well, that was the
     19     second time we advised the marshall.                 But
     20     yes, on July 23rd it looks like we did.
     21             Q.      Does it appear to you that you
     22     received the July 17th letter from
     23     Mr. Morales and that's what triggered your
     24     office to contact the marshall six days
     25     later to advise them to vacate the


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      1                           G. KAVULICH
      2     execution against Mr. Morales?
      3             A.      That's conjecture, but there's
      4     a certain amount of common sense to that, I
      5     would guess.
      6             Q.      Assuming my client testifies
      7     that he, in fact, sent Exhibit 15 to your
      8     office, why didn't your office keep a copy
      9     note or at least note its receipt?
     10             A.      It could be scanned into
     11     another file as we discussed before.                 I
     12     don't know.
     13             Q.      But you checked all your files
     14     and you produced all your records regarding
     15     Mr. Morales in this case, correct?
     16             A.      Yeah, it's just one -- it's not
     17     like we have multiple files.              It's just
     18     one.
     19             Q.      Putting aside the scanning
     20     issue, if Exhibit 15 was, in fact, scanned,
     21     you would have found it and produced it?
     22             A.      Yeah, sure.
     23                     MR. KESHAVARZ:        Let me talk
     24             about another trigger or possible
     25             trigger and mark this.


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      1                           G. KAVULICH
      2                     (Whereupon, letter was marked
      3             as Plaintiff's Exhibit 16 for
      4             identification as of this date by the
      5             Reporter.)
      6             Q.      I'm showing you what's been
      7     marked as Exhibit 16, Bates stamped Morales
      8     69, a letter dated May 15th, 2015 from TD
      9     Bank to Mr. Morales.
     10                     Can you review that document
     11     and let me know when you're done, please.
     12             A.      Okay.
     13             Q.      Now, we're trying to figure out
     14     before what the trigger could have been for
     15     your office on May 18th, 2015 to apparently
     16     tell the marshall to release the restraint,
     17     when just on May 7th you didn't do so in
     18     response to a call from the Legal Aid
     19     lawyer.
     20                     So, let me ask you this:            Did
     21     you receive any correspondence from TD Bank
     22     regarding a complaint that he filed against
     23     TD Bank about improper restraint of his
     24     bank account?
     25             A.      No.


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      1                           G. KAVULICH
      2             Q.      Given that you contacted the
      3     marshall's office three days after the date
      4     of May 15th, do you think it's possible
      5     that the reason that you contacted the
      6     marshall was that TD Bank contacted you
      7     about Mr. Morales' complaint that his bank
      8     was being restrained on a nonexistent
      9     judgement?
     10             A.      No.    As I mentioned earlier, I
     11     think the most logical reason was the
     12     review in preparation for court on the
     13     motion.
     14             Q.      Well, you didn't go to court on
     15     the motion.
     16             A.      Right.     The review for
     17     preparation for court.           In other words,
     18     looking at the cases before we go to court
     19     and reviewing it and something could have
     20     stood out.
     21             Q.      But again, there was no actual
     22     setting for May 18th, right?
     23             A.      I'm sorry?
     24             Q.      May 18th, the notice of motion
     25     was never actually calendared with the


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      2     court for May 18th or any date, right?
      3             A.      I believe not, right.           I don't
      4     know that I've ever seen -- other than
      5     private reading Office -- I would remember
      6     something like this -- Office of the
      7     Comptroller of the Currency.
      8             Q.      So, when you get an exemption
      9     claim form, is it your understanding that
     10     if you're going to file an objection you're
     11     required to file that objection either 10
     12     or 14 days after the date of the
     13     objection -- of the exemption claim?
     14             A.      Of the exemption claim, it's
     15     eight days.
     16             Q.      So, eight days from the date of
     17     the exemption claim form you have to set a
     18     hearing and the hearing has to happen eight
     19     days -- or you tell me -- eight days from
     20     the date of the exemption?
     21             A.      Third time.       We get the
     22     exemption claim form and we have eight days
     23     from the date on it to file a motion
     24     objecting to it.         But clearly that date
     25     can't be, because we don't deliver them


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      1                           G. KAVULICH
      2     personally.       We mail them.        So, 13 days.
      3                     As long as we get something to
      4     the bank, get the motion to the bank within
      5     eight days of the date of the exemption.
      6     It doesn't necessarily mean the day we get
      7     it.     The date that the judgement
      8     debtor/account holder fills it out.
      9             Q.      But when does the hearing on
     10     the objection to the exemption have to be
     11     heard, within how many days?
     12             A.      It doesn't.       There is no -- it
     13     doesn't have to be within eight days.
     14             Q.      Does the hearing on the
     15     objection to exemption have to be within a
     16     certain number of days?
     17             A.      Not to my knowledge, no.            As
     18     long as we file the objection within eight
     19     days.
     20             Q.      Got it.
     21                     We talked in the prior
     22     deposition about you relying on the
     23     marshall to do the accounting for the
     24     amount due, correct?
     25             A.      For the interest calculation,


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      1                           G. KAVULICH
      2     the compoundage calculation, yes.
      3             Q.      Do you have any system in place
      4     to make sure that you're not sending one
      5     punitive judgment account to two different
      6     marshalls, do you have any system in place
      7     to track that?
      8             A.      Just manually.
      9             Q.      So, the answer is no?
     10             A.      No, that's a system.          We're not
     11     Mill Harris, where I have thousands --
     12                     MR. PASHKIN:       Don't compare
     13             yourself to them, please.
     14                     THE WITNESS:       I don't know many
     15             other ones.       I meant only by volume.
     16             Q.      And the point being, if it was
     17     at two marshalls, then one marshall
     18     wouldn't be able to credit the payments
     19     that are made to the other?
     20             A.      There would be a disconnect.
     21                     (Continued on next page to
     22             include jurat.)
     23
     24
     25

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      1                           G. KAVULICH
      2             Q.      So, the numbers would be off?
      3             A.      Correct.
      4                     MR. KESHAVARZ:        That's all I
      5             have.
      6                     Anything else?
      7                     No.
      8                     Appreciate your time, sir.
      9                     (Whereupon, at 1:58 P.M., the
     10             examination of this witness was
     11             concluded.)
     12
     13
                                __________________________
     14                             GARY KAVULICH
     15
     16
     17     Subscribed and sworn to before me
     18     this _____ day of _______________ 20___.
     19
            __________________________
     20         NOTARY PUBLIC
     21
     22
     23
     24
     25

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      1                           G. KAVULICH
      2                   C E R T I F I C A T E
      3
      4     STATE OF NEW YORK               )
                                            :    SS.:
      5     COUNTY OF RICHMOND              )
      6
      7             I, JAMIE WILLIS, a Notary Public for
      8     and within the State of New York, do hereby
      9     certify:
     10             That the witness whose examination is
     11     hereinbefore set forth was duly sworn and
     12     that such examination is a true record of
     13     the testimony given by that witness.
     14             I further certify that I am not
     15     related to any of the parties to this
     16     action by blood or by marriage and that I
     17     am in no way interested in the outcome of
     18     this matter.
     19             IN WITNESS WHEREOF, I have hereunto
     20     set my hand this 23rd day of December 2016.
     21
     22
     23                         _______________________
                                    JAMIE WILLIS
     24
     25

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